             Case 1:22-cv-01596-UNA Document 4 Filed 07/05/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


TRISTAN FLORENDO-ONG,                         )
                                              )
                 Plaintiff,                   )
                                              )
        v.                                    )       Civil Action No. 22-1596 (UNA)
                                              )
IL-USA et al.,                                )
                                              )
                 Defendants.                  )


                                 MEMORANDUM OPINION

        Tristan Florendo-Ong, appearing pro se, has filed a largely incomprehensible Complaint,

Dkt. 1, and a Motion for Leave to Proceed in forma pauperis, Dkt. 2. The Court will grant the

Motion and dismiss the case.

        Florendo-Ong resides in Chicago, Illinois. He has named a long list of defendants, see

Compl. at 2–6, and appears to seek review of his criminal convictions in Illinois courts, see id. at

8–9. “The Rooker-Feldman doctrine prevents lower federal courts from hearing cases that amount

to the functional equivalent of an appeal from a state court.” Gray v. Poole, 275 F.3d 1113, 1119

(D.C. Cir. 2002) (citing District of Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983);

Rooker v. Fid. Trust Co., 263 U.S. 413 (1923)); see United States v. Choi, 818 F. Supp. 2d 79, 85

(D.D.C. 2011) (federal district courts “generally lack[] appellate jurisdiction over other judicial

bodies, and cannot exercise appellate mandamus over other courts.”). Plaintiff’s recourse lies, if

at all, in the Illinois courts and ultimately in the U.S. Supreme Court. See 28 U.S.C. § 1257;

Stanton v. D.C. Court of Appeals, 127 F.3d 72, 75 (D.C. Cir. 1997) (Section 1257 “channels

directly to the Supreme Court all federal review of judicial decisions of state . . . courts of last

resort”).


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          Case 1:22-cv-01596-UNA Document 4 Filed 07/05/22 Page 2 of 2




       Mr. Florendo-Ong also mentions the Civil Rights statutes, see Compl. at 1, 8, but he makes

no cogent, supporting factual allegations and “federal courts are without power to entertain claims

otherwise within their jurisdiction if,” as here, “they are so attenuated and unsubstantial as to be

absolutely devoid of merit [or] wholly insubstantial[.]” Hagans v. Lavine, 415 U.S. 528, 536–37

(1974) (cleaned up). In addition, Rule 8 of the Federal Rules of Civil Procedure requires that a

complaint contain a short and plain statement of the claim showing that the pleader is entitled to

relief. Fed. R. Civ. P. 8(a). Here, because Florendo-Ong’s complaint lacks any discrete claim

against any named defendant, it does not satisfy that standard. Consequently, this case will be

dismissed by separate order.

                                                     _________/s/___________
                                                     DABNEY L. FRIEDRICH
                                                     United States District Judge
Date: July 1, 2022




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